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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                        -X


 MACK BUTLER
                                                              2:ll-CV-03470(LGD)
           Plaintiff,

                        -against-

 ROGER KLEBER and PATRICK RYAN,
 in their individual capacities.

                                   Defendants

                                                        X


                                    SPECIAL JURY OUESTIONS


                                                PARTI
                        PLAINTIFF'S CLAIM OFEXCESSIVE FORCE

 1)     Has plaintiff Mack Butler established by a preponderance ofthe evidence that he sustained

 physical injury through a use offorce by defendant Police Officer Roger Kleber?

                                                     Yes                     I/no
 2)     Has plaintiff Mack Butler established by a preponderance ofthe evidence that he sustained

 physical injury through a use offorce by defendant Police Officer Patrick Ryan?

                                                     Yes                    y/No

 YOU SHOULD ONLY ANSWER QUESTION 3 IF YOU ANSWERED "YES" TO
 QUESTION 1.

 3)     Has the plaintiff Mack Butler established by a preponderance of the evidence that

 defendant Police Officer Roger Kleber used excessive force against him?

                                                     Yes                        No
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 YOU SHOULD ONLY ANSWER QUESTION 4 IF YOU ANSWERED "YES" TO
 QUESTION 2.

 4)     Has the plaintiff Mack Butler established by a preponderance of the evidence that

 defendant Police Officer Patrick Ryan used excessive force against him?

                                                    Yes                       No



                                           PARTII
                                          DAMAGES



 YOU SHOULD ONLY ANSWER THE QUESTIONS BELOW IF YOU ANSWERED YES
 TO QUESTIONS 3 AND/OR 4.

 A,     Compensatory Damages

 5)     If you answered "yes" to question 3,state in dollars the amount ofcompensatory damages,

 if any, you wish to award plaintiff Mack Butler against defendant Police Officer Roger Kleber.

        $

 6)     If you answered "yes"to question 4,state in dollars the amount ofcompensatory damages,

 if any, you wish to award plaintiff Mack Butler against defendant Police Officer Patrick Ryan.

        $


 B,     NominalDamages

 YOU SHOULD ONLY ANSWER THE QUESTIONS BELOW IF(1)YOU ANSWERED
 YES TO QUESTIONS 3 AND/OR 4, AND(2)YOU DID NOT AWARD PLAINTIFF ANY
 COMPENSATORY DAMAGES IN RESPONSE TO QUESTIONS 5 AND/OR 6.

 7)     Should the plaintiff Mack Butler be awarded nominal damages in the sum of$1.00 on his

 federal civil rights claims against defendant Police Officer Roger Kleber?

                                    Yes                                  No
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 8)     Should the plaintiff Mack Butler be awarded nominal damages in the sum of$1.00 on his
 federal civil rights claims against defendant Police Officer Patrick Ryan?
                                    ^Yes                                  No

 C      Punitive Damages

 YOU SHOULD ONLY ANSWER THE QUESTIONS BELOW IF YOU ANSWERED YES
 TO QUESTIONS 3 AND/OR 4.

 9)     If you answered "yes" to question 3, state in dollars the amount of punitive damages, if

 any, you wish to award plaintiff Mack Butler against defendant Police Officer Roger Kleber.

               $

 10)    If you answered "yes" to question 4, state in dollars the amount of punitive damages, if

 any, you wish to award plaintiff Mack Butler against defendant Police Officer Patrick Ryan.

               $




 YOUR FOREPERSON IS TO SIGN AND DATE THIS VERDICT FORM AND ADVISE
 THE COURTROOM DEPUTY THAT A VERDICT HAS BEEN REACHED.




        SIGNED;




        DATE:_£/i/2^^2
